UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF NEW HAMPSHIRE

CARL ALEXANDER COHEN,
Plaintiff,

Vv.

Docket No. 1:20-CV-00943
BOSTON SCIENTIFIC CORPORATION, REPUBLIC

SURGICAL, INC., MEDWORX, INC., ALEXANDRE
R. MOUCHATI AND DOES 1-20, INCLUSIVE, AND
JOHN DOE ENTITIES 11-20 INCLUSIVE,

Defendants.

DEFENDANT ALEX MOUCHATD’S FIRST REQUEST FOR
PRODUCTION OF DOCUMENTS TO PLAINTIFF

The defendant, Alex Mouchati., pursuant to Rule 35 of the New Hampshire Federal Court,
requests that the plaintiff, Carl Alexander Cohen, produce the documents listed below for
inspection and copying.

DEFINITIONS

As used herein, the word “document” or “documents” includes, without limitation, any
X-rays and other films or radiographs, original, and all copies, of any writings, memoranda,
photographs, tapes or other sound or video recordings, contracts, agreements, invoices, checks,
statements, receipts, letters, notes, telephone logs, diaries, calendar entries, telegrams, telexes, or
other forms of communication or correspondence, books, catalogs, pamphlets, periodicals, lists,
brochures, reports, minutes, books or records of account, schedules, tax returns, computer
printouts, tapes or memories, photostats, microfilm, or other written information, in whatever
form, which is in the custody or possession or under the control of the plaintiff.

“Incident” or “accident,” as used herein, shall refer to the accident alleged in the plaintiff's
complaint.

“Statement” means any document or tape recording that constitutes, or refers to, a
discussion, conversation, declaration, or description of the accident or its consequences.

If the plaintiff withholds documents requested herein under any claim of privilege or work-
product immunity, a request is hereby made to list and sufficiently identify the documents so that
they may be appropriately described in a motion to compel their production

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REQUESTS

All reports, memoranda, notices, letters and any other correspondence at any time during
the period from the date of the alleged incident to date, in any way concerning or related
to any of the events, occurrences and allegations contained in your Complaint between you,
your agents, servants, employees or attorneys, and:

the defendant, his agents, servants, employees or attorneys;
any governmental or municipal entity or agency thereof; and

any insurance company or companies providing insurance to you for any portion of the
loss sustained by you as a result of the incident alleged in the Complaint, and the agents,
servants, employees or attorneys of said insurance company or companies.

All reports, statements, memoranda, notices, documents and all other papers or documents
maintained by you and/or in your possession or in the possession of your agents, servants,
employees or attorneys, in any way concerning or related to any of the events, occurrences
and allegations in your Complaint.

The original or a copy of the full and complete policy or policies of insurance, including
declarations page, jackets, riders and endorsements, naming or including you as insured,
which was in effect at any time during the period from the date of the alleged incident to
date and under which you individually or as administrator have received, or have made
claim for, any payment on account of, or as a result of, the incident alleged in your
Complaint.

Originals or copies of all bills, invoices, estimates or statements, paid or unpaid, rendered
to you, your agents, servants, employees or attorneys, by any person or entity on account
of the damages and expenses allegedly sustained and incurred by you as a result of the
events and occurrences alleged in the Complaint.

True and complete copies of the Federal Income Tax Returns for the years 2013 through
present.

All books, documents or other records showing your income from any source for the years
set forth in paragraph 5.

All copies of W-2 or other forms transmitted to you by all employers of or by other persons
or entities and reflecting payments made for the years set forth in paragraph 5.

Originals or copies of all bills, invoices, estimates or statements, paid or unpaid, rendered
to you, your agents, servants, employees or attorneys, for charges of physicians, surgeons,
therapists, hospitals, sanitaria, x-ray laboratories or other institutions for services rendered
or appliances furnished to you as a result of the incident alleged in the Complaint.
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All medical records, surgical records, x-ray reports, x-ray films, MRIs, MRI reports, slides, '
mental health records, writings, notes or other memoranda relating in any way at all to any

physical, medical or mental health conditions, illnesses or disabilities including but not

limited to those of doctors, nurses, practitioners, hospitals, clinics, institutions or other

health care providers or insurers, without regard to whether it is your contention that any

such physical, medical or mental health conditions, illnesses or disabilities were caused in

any way by the defendant or by any agent, servant or employee of the defendant from 2000

to the present.

All of your employment and work records including but not limited to the names and
addresses of all employers, the records of the dates lost from work for any reason
whatsoever, and the employment income lost during the period of time commencing five
years before the date of the incident alleged in the Complaint.

Originals or copies of any writings or statements, signed or unsigned, or transcribed
conceming this action, its subject matter, or any of the events and occurrences alleged in
the Complaint previously made by:

the defendant, his agents, servants, employees or attorneys; and

any insurance company or companies providing insurance to you for any portion of the
loss sustained by you as a result of the incident alleged in the Complaint, and the agents,
servants, employees or attorneys of said insurance company or companies.

All notes, memoranda and all other written records made or received by the plaintiff, his
agents, servants or employees, concerning any meeting or meetings, telephone
conversation or conversations that occurred during the period from the date of the alleged
incident referred to in your Complaint to date, between the plaintiff, his agents, servants or
employees, and the defendant, his agents, servants, employees or attorneys.

All photographs of any condition caused or treated by defendant.
Duly executed authorizations for medical records from any and all hospitals, doctors,
nurses, or other practitioners by whom the Plaintiff was examined or treated for injuries

sustained in the accident alleged in the complaint (authorizations attached).

Duly executed authorizations for wage and salary information from your employer at the
time of this accident (authorization attached).

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Respectfully submitted,
The Defendant,
By Its Attorneys,

MORRISON MAHONEY LLP

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Willid&n Joseph Flarfagan, #17287

jflanagan@morrisonmahoney.com
250 Summer Street

Boston, MA 02210-1181

Phone: 617-439-7500

Fax: 617-342-4887
CERTIFICATE OF SERVICE

I, William Joseph Flanagan, attorney for the defendants, hereby certify that I have this day
served the foregoing Defendant’s First Request for Production of Documents to Plaintiff to all
counsel of record in this action by mailing same, by first class mail, postage prepaid to:

Benjamin R. Novotny, Esq.
Trial Lawyers for Justice

421 W. Water Street, 3 Floor
Decorah, IA 52101

Alfred TR. Catalfo, III, Esq.
Catalfo Law, PLLC

466 Central Avenue, Suite 2
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Edward J. Sackman, Esq.
Bernstein Shur P.A.

670 N. Commercial Street
PO Box 1120
Manchester, NH 03105

an
Dated: ip S, pt Attorney: bef Lbessctzral
Wilkfam Joseph F4nagan

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AUTHORIZATION FOR WAGE AND SALARY INFORMATION

This authorization or photocopy thereof will authorize you to furnish to the law firm of
Morrison Mahoney LLP all information you may have regarding any employment and any wages

or salary or days worked while employed by you.

Date: Signature:

Name: Carl Alexander Cohen

Address:

Social Security

No.:

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AUTHORIZATION TO USE OR DISCLOSE PROTECTED HEALTH INFORMATION
PURSUANT TO THE HEALTH INSURANCE PORTABILITY AND ACCOUNTABILITY ACT OF 1996 (HIPAA)

1.‘ | hereby authorize (1) to use or disclose the following protected
Name of hospital/physician
health information from the medical records of the patient listed below, and (2) to answer at a deposition or trial any questions
pertaining to such information. I understand that information used or disclosed pursuant to this authorization could be subject
to re-disclosure by the recipient(s) and, if so, may not be subject to federal or state laws protecting its confidentiality.

2. Patient’s Name: Carl Alexander Cohen Date of Birth:

Address:
(Street, City, State, Zip)

3. Information to be disclosed to the following individuals:
INSERT ATTORNEY NAMES OR OTHER PARTIES WHO WILL BE PRIVY TO MEDICAL RECORDS
Name & Address
William Joseph Flanagan
Morrison Mahoney LLP
250 Summer Street, Boston, MA 02110

4. Relevant treatment dates: 2015 to Present

5. Records Sought (includes any documents relating to the following, including those related to treatment and referral):

X Complete Records (Includes all categories on this page)

Outpatient Reports ____ Consultations ____ Physical Therapy ____ Abstracts
Discharge Summary ____ Emergency Reports _____ Face Sheets ___ X-Rays
HIV/AIDS ____ Laboratory Documents ___ Physical History ____ Pathology Reports
Social Worker ____ Psychotherapy (Notest) —__— Childbirth _____ Sexual Assault
Genetic Testing _____ Domestic Violence _____ Other: Specify

Blood Alcohol _____Venereal Disease

Drug/Alcohol Diagnosis (Type and amount of information to be disclosed (required by federal law):

6. The above information is disclosed for the following purposes:

___ Medical Care X_ Legal Insurance Personal Other

7. 1(1) understand that if the entity receiving the information described above is not a health-care provider or affiliated with a health
plan covered by federal privacy regulations, the information described above may be re-disclosed and no longer protected by
these regulations or other applicable state or federal laws, (2) understand that 1 may revoke this authorization at any time,
provided that I do so in writing to the above-referenced hospital or other medical provider, except to the extent that action has
been taken in reliance on this authorization or during a contestability period under applicable law, and (3) authorize disclosure
of my information via mail, e-mail, telephone, the internet, or electronic facsimile.

Check here

8. This authorization expires on (upon) This authorization expires on

the following date, if not revoked earlier(Insest applicable date or event) December 31, 2023

9, a. b.
Signature of Patient or Legal Representative Date
c d.
Printed Name of Patient or Patient’s Legal Relationship of Legal Rep. to Patient or Source of Legal
Representative Rep.’s Authority to Act on Behalf of Patient (if applicable)
IMPORTANT:
THIS AUTHORIZATION SHALL BE DEEMED INVALID UNLESS ALL NUMBERED ENTRIES (INCLUDING SUB-PARTS) ARE
COMPLETED

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